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                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


In re                                         :                 Chapter 7

Campisi Construction, Inc.


              Debtor(s)                       :             Bankruptcy No.14-12458



                                          NOTICE


To the debtor, debtor's counsel, and all parties in interest:

 NOTICE is hereby given that:

                     This matter is reassigned to the calendar of the
                     Honorable Chief Judge Magdeline D. Coleman from the
                     calendar of the Honorable Jean K. FitzSimon, Retired.



Dated: October 13, 2023
                                                         FOR THE COURT


                                                         TIMOTHY B. MCGRATH CLERK
cc:
Judge(s)
Debtor
Counsel to Debtor
Trustee
US Trustee
